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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


DEBORAH THERIOT                                               CIVIL ACTION

VERSUS                                                           No. 18-10250

BUILDING TRADES UNITED
PENSION TRUST FUND, ET AL.                                        SECTION I


                                JUDGMENT

      Considering the Court’s order and reasons granting defendants Building

Trades United Pension Trust Fund and its Board of Trustees’ (collectively, the

“defendants”) motion for summary judgment,

      IT IS ORDERED that judgment shall be entered in favor of defendants and

against plaintiff Deborah Theriot, and the above-captioned matter is DISMISSED

WITH PREJUDICE.

      New Orleans, Louisiana, November 4, 2019.


                                       _______________________________________
                                                 LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE
